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                EXHIBIT 13
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                                         ALLONGE




         ALLONGE to that certain Promissory Note dated as of October 21, 2016 in the original
principal amount of $8,350,000.00, executed by KORNBLUTH TEXAS, LLC, a Texas limited
liability company, payable to the order of RIALTO MORTGAGE FINANCE, LLC, a Delaware
limited liability company.

      Pay to the order of RIALTO MORTGAGE FINANCE, LLC, a Delaware limited liability
company, its successors, participants and assigns, without recourse.

          Dated as of the _ _ day of December, 2016


                                           RMF SUB 1, LLC, a Delaware limited liability
                                           company




                                           By:~£~
                                           Name: MllTSl1llllan Smith
                                           Title: Authorized Signatory




Reference No.: 4435.017
Matter Name: Holiday Inn Webster
Pool: WFCM 2016-LC25
